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 6

 7                                  UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                      No. 2:11-CR-00054-TLN

11                     Plaintiff,                   ORDER OF RECONVEYANCE

12          v.

13   MICHAEL BOLDEN,

14                     Defendant.

15

16          The property at 4208 Old Lynne Road, Virginia Beach, Virginia, 23453, serving as

17   collateral for defendant Michael Bolden’s pretrial release bond, is hereby reconveyed to Johnnie

18   and Lisa Benjamin.

19          IT IS SO ORDERED.

20   Dated: April 17, 2015

21                                                        Troy L. Nunley
                                                          United States District Judge
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     Order of Reconveyance
